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UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
‘THE NEW YORK TIMES COMPANY and DOC #: f
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BENJAMIN PROTESS, DATE FILED: 2/5 ie
Plaintiffs,
No. 17 Civ. 7510 (PKC)
- Versus -
STIPULATION OF v6 QR
DEPARTMENT OF TRANSPORTATION, VOLUNTARY DISMISSAL @ 0 A
Defendant.

IT IS HEREBY STIPULATED AND AGREED by and between the parties’ respective

counsel that:

1. The above-captioned action is voluntarily dismissed with prejudice against
defendant the United States Department of Transportation pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), with each side bearing its own fees and costs.

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2. This Stipulation may be signed in counterparts.

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United States Attorney for the
Southern Distriét of/New Yor

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Counsel for Deféndant

Dated; February 2, 2018

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Counsel for Plaintiffs

Dated: February 2, 2018

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HONORABLE P/IKEVIN CASTEL
UNITED STATES DISTRICT JUDGE

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